                                          Case 4:21-cv-08689-HSG Document 15 Filed 01/10/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        SAMUEL LOVE,
                                   7                                                          Case No. 20-cv-08689-HSG
                                                        Plaintiff,
                                   8                                                          CONDITIONAL ORDER OF
                                                 v.                                           DISMISSAL
                                   9
                                        INTERNATIONAL HOTEL ASSOCIATES                        Re: Dkt. No. 29
                                  10    NO. 2 LLC,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                               The Court having been advised that the parties have agreed to a settlement of this case,
                                  13

                                  14           IT IS HEREBY ORDERED that this case be dismissed with prejudice; provided, however,

                                  15   that if any party hereto shall certify to this Court, with proof of service of a copy thereon on

                                  16   opposing counsel, within 60 days from the date hereof, that the agreed consideration for said
                                  17
                                       settlement has not been delivered over, the foregoing Order shall stand vacated and this case shall
                                  18
                                       forthwith be restored to the calendar to be set for trial.
                                  19

                                  20   Dated: January 10, 2022

                                  21

                                  22                                                                  ________________________
                                                                                                      HAYWOOD S. GILLIAM, JR.
                                  23                                                                  United States District Judge
                                  24

                                  25

                                  26
                                  27

                                  28
